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                       PROCEDURAL TENTATIVE RULING

                     ISSUED BY JUDGE LAURA S. TAYLOR



   Debtor:      PEPPERTREE PARK VILLAGES 9 AND 10, LLC


   Number:      17-05137-LT7

   Hearing:     02:00 PM Wednesday, April 12, 2023

   Motion:   MOTION FOR ALLOWANCE AND PAYMENT OF
   ADMINISTRATIVE EXPENSES FILED BY: BAKER TILLY US, LLP F/K/A
   SQUAR MILNER LLP



   1. A hearing has been noticed before the Honorable Laura S. Taylor to consider
   the Notice of Status of Administrative Claim and Request for Allowance of
   Additional Claims filed by: Foley & Lardner LLP:

   Date: April 12, 2023
   Time: 2:00 p.m.
   Location: Jacob Weinberger United States Courthouse, Department 3,
   Room 129, 325 West "F" Street, San Diego, California 92101-6991
   2. Although the Court will conduct the hearing in person, any interested party
   may request to attend the hearing remotely using the services of Zoom Video
   Communications, Inc. ("Zoom"). To participate in the hearing remotely via Zoom,
   you must request a Zoom appearance in advance no later than 10:00 a.m., two
   business days before the date of the hearing. To request a Zoom appearance,
   call our Courtroom Deputy, Russell Paluso, at (619) 557-5157.
   3. Please consult the Hybrid Hearing Guidelines for Department Three (the
   "Guidelines") found on the Court's website, for a description of matters where
   Zoom attendance is typically allowed. The Court will otherwise allow Zoom
   appearance where justified on a case by case basis. In particular, the Court
   strongly prefers in-Court appearance for initial pre-trial status conferences and
   matters where significant argument is anticipated. Also note that a subsequent
   Tentative Ruling may state that a Zoom appearance is not allowed.
   4. All participants (whether attending in person or remotely) must observe the
   formalities of the courtroom, exercise civility, and otherwise conduct themselves
   in a manner consistent with the dignity of the Court. This includes appropriate
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   courtroom attire for those participants appearing by video.
   5. PLEASE NOTE: No person may record the proceedings from any location by
   any means.
   6. A further case specific Tentative will follow.
